Ao 245 s (Re€a$eg&tHBTCB;J?HOZM=BBDHDOQMMMAA:\ Ei|efi£i$éz£§d€& Page 1 of 2 PagelD 46

UNITED STATES DISTRICT COURT W_;-;[; A,/ :‘;.C.

Western District of Tennessee
GS AUG 25 PH 2= \'1

UNITED STATES OF AMERICA
Plaintiff,

VS.

 

EDDIE LEE GALLOWAY
Defendant.

\TUIXIMELEE AIUD CCDHMIEHMEBEP CHUDEF\

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or A£ter November 1, 1987)

The defendant, Eddie Lee Galloway, was represented by Edwin A. Perry, Esq.
It appearing that the defendant, who was convicted on April 7, 2000, in the above

styled cause and was placed on Supervised Release for a period of three (3) years and has
violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of fifteen (15) months to run consecutive to the
sentence imposed in case 2:05cr20169.

Furthermore, no additional supervised release shall be imposed.

The defendant is remanded to the custody of the United States Marshal.

Signed this the 5?2 day of August, 2005.

  

Tth document entered on the docket sheet in cornpiiance ERNICE B . DONALD
with Rule 55 and/or 32(|:)) FRCrP on UNITED STATES DISTRICT JUDGE

Defendant's SS No.: XXX-XX-XXXX

Defendant'§¥pate of Birth: 05/03/1958

U.S. Marshal No.: 18649-009

Defendant's Mailinq Address: 1486 Eason Ave., Memphis, TN 38116

 

   

UNITED sTATE DSTIIC COUR - WESTERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:99-CR-20234 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

